 

Case 4:11-cv-OO733-DPI\/| Document 32 Filed 06/25/12 Page 1 of 3

@/0111 41 0011111¢,1,~1; 00 z///»C 1/- 705 D@/M

/# i'ow;'¢_ /-<,1\1,.1192.1!§;,,11 wml<`z§»€/ww¢hwa,(»cj`
51£@‘4‘¢/7 /~/,w law ZY’W /.Lkl cwcch/,a.omck¢»\/~D
WMWMLMW§MWMMM

2 303 &»V~/L@h>v/ l@mw/MY\XQ€M 793`7
9114~€0'114'200<;"

3 AOCMZY 010/1100 4110¢£111 Mwwtaw!

 

0 700 00311!§§§11 .1 we 1011
'JUN 25 2012
5 700 521/1914 1114 M @;,L§_, JAMES . ' MACK,cL RK

EP CLERK

0 6@111&1 0011:1110111 001/000 00321 141/110
6%001/~#:‘§9,12/>@/10¢»% 74 M%q

7 ~c¢/M wé@w,v.>!»,mmw M;MW 1010 501 010
_',<,¢/M~é¢@@<, WMM»Q uaw Q//m wm B,WW

 

 

 

 

 

 

 

9 '?/uw wm would zwiM§¢A,R»/,<)MAWWMM
7 :.;;;LM.MWM 0£»&?13 bmw/twymewa
10 §MMWMMQMWMWMMMW
//

 

)/MM 1103/vw M¢JWWJ b-W/cl»/LQL¢JM~J(

 

90'~_1 010/111 001 1101011¢1\110

_ Case 4:11-cv-OO733-DPI\/| Document32 Filed 06/25/12 PageZofS

 

12 g71000111»011 0/11101 1370

 

 

w 700

 

15 02"/,</0<0 000/w @W'§WW' L%MQJOWW
/\.od(?¢m wmw,</?‘,g&,ue,->w,

l

 

20 mu\o)‘; ma 00qu 5000 1100 0000.

 

)7 tech DM@MM<JWWMWM Q,€@M
411 00010)1)01'0011»0»1>0\04, 0~»1)0,0!1 wu
lum MJ\UM’/.LWMMWZZ b.Q_giM &M
.wAL€-@,MMMIM 4302 M$»O'w&
MMW<L@ 000 1010/101 md W
000001~¢00 crcc/<mlmw/Ju wm
aj w~p.c»j'cw\©&n )0¢><1/£072/.

 

)`€ :": 700

 

19 403wa ¥w\ c,LMj?»/\ MwL;;'(:Jc\aS/k-°W
<M\Wwf,

 

10 700

 

ll iv::u)£ 700/wa lig/vqu k-M. MWM¢ 1000/4b §;»;d`
w W lwiw

 

Case 4:11-cv-OO733-DPI\/| Document 32 Filed 06/25/12 Page 3 of 3

 

21 740 00¢»€ 7WMWMMMWMMW.

 

 

13 (D&LM new V¢wv~/~UN.\ W A,w\jww~\ §j\,¢ wm
020#\0,1 00)»~\ 000 w~)J+,M/~o mumq,\»az~

 

l'+ bc/,€/\M/wo§,u-<J\ WM©W M(W/C”d'
`\`L?> wham

 

`…,Zm w WJ:YF)@M b<>»H\ w»JQ;pM\MY
\}w, W,{,V\Mbw~l-< ;\A Lw)/\/\¢w\»&.

 

 

‘%,<%//“`/%%~/
~ 0 /05/ / /00 ~
Z£/§ A/zéms/Q./

w. 720//0;, §§ 7001/0

'<§(r§?z¢{> z?</» 3790

 

 

 

 

 

 

 

 

 

 

